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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

ARCONIC CORPORATION, and                      )
HOWMET AEROSPACE Inc.,                        )
                                              )
Plaintiffs and Counterclaim-Defendants,       )       Civil Action No.:
                                              )       1:15-cv-01466-ELR
              v.                              )
                                              )       Jury Trial Requested
UNIVERSAL ALLOY                               )
CORPORATION,                                  )
                                              )
Defendant and Counterclaim-Plaintiff.         )



                ALCOA’S MOTION IN LIMINE #3
        AND MEMORANDUM OF LAW IN SUPPORT THEREOF
          TO EXCLUDE UAC’S EVIDENCE RELATING TO
              UNIDENTIFIED PUBLIC LITERATURE
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      NOW COME Arconic Corporation and Howmet Aerospace Inc. (f/k/a Alcoa

Inc., collectively “Alcoa”),1 and respectfully file this Motion in Limine #3 and

Memorandum of Law in Support Thereof to Exclude Evidence Relating to

Unidentified or Unproduced Public Literature (the “Motion”).

                                 INTRODUCTION

      UAC again seeks to introduce documents it failed to identify or produce

during discovery. This is part of a pattern and practice – it is not an isolated

occurrence.     The Court already sanctioned UAC and excluded its reverse

engineering and statute of limitations theories and evidence at summary judgment

for failing to disclose these materials during discovery – undeterred, UAC now seeks

to admit them at trial. (See MIL #1). UAC also seeks to introduce documents it

produced only after depositions and expert reports. (See MIL #2). What is more,

UAC also seeks to introduce the testimony of Julian Gheorghe after having told

Arconic during discovery that he has no relevant information. (See MIL #4). This

time, UAC seeks to rely on documents purportedly showing Alcoa’s trade secrets

were common knowledge or readily ascertainable when it never identified those

documents during fact discovery despite a clear obligation to do so.



      1
       Arconic was formerly known as “Alcoa.” Because many historical
documents refer to “Alcoa,” for simplicity, Plaintiff is referred to as “Alcoa” herein.

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      Alcoa served multiple written discovery requests asking for these documents.

Instead of complying with its discovery obligations, UAC attempts to ambush Alcoa

at trial. UAC only identified one source during fact discovery. Now, it lists almost

70 (if not more) sources of public literature on its Trial Exhibit List. Rule 37(c) does

not permit such an outcome. Alcoa respectfully asks this Court to exclude any late

or undisclosed public documents from trial. 2

                                  BACKGROUND

      Alcoa spent two and a half years seeking discovery into one of UAC’s primary

defenses — namely, that Alcoa’s trade secrets are not secrets at all because they are

common knowledge or readily ascertainable from the public domain. Considering

the importance of this defense, one would think that UAC would have bent over

backwards to prove it up. Instead, UAC refused to offer substantive responses to

relevant discovery requests and withheld documents. UAC had ample opportunity

to identify whatever public literature that it contends contains Alcoa’s trade secrets.

It did not do so until well after the close of discovery, withholding much of the




      2
        Exhibit 1 to the accompanying Declaration of Caroline M. Walters (“Walters
Decl.”) is a non-exhaustive list of public literature that is included on UAC’s Trial
Exhibit List. For clarity, Alcoa seeks to exclude all public literature that was not
identified in fact discovery – which is everything but one chapter of one book (and
that one chapter, in any event, does not appear to be on UAC’s Trial Exhibit List).

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information until it submitted its technical rebuttal expert report and still more until

it submitted its Trial Exhibit List in connection with the Proposed Pretrial Order.

See Walters Decl., Ex 1.

A.    UAC FAILS TO DISCLOSE PUBLIC LITERATURE IN
      DISCOVERY RESPONSES.

      On June 10, 2015, five days after filing its Amended Complaint, Alcoa issued

its first set of Requests for Production (“RFP”), which asked UAC to produce,

among other things, “documents, books, treatises or other material on which you,

your expert witness or any other witness may rely upon at the trial of this case.”

Walters Decl., Ex. 2. UAC objected and never responded in substance. See Walters

Decl., Ex. 3; see also Walters Decl., Ex 4.

      On June 22, 2015, UAC served its initial disclosures. See Walters Decl., Ex.

5. Therein, UAC said: “The information Alcoa claims UAC misappropriated is not

secret or confidential, but is public knowledge, disclosed voluntarily by Alcoa to

third parties, and/or in use or readily ascertainable by others in the industry.” Id. at

3. However, UAC did not identify any public literature or other such disclosures as

a category of documents that UAC would “use to support its claims and/or defenses.”

See id., Att. C. UAC never supplemented these disclosures.

      On January 28, 2016, Alcoa served interrogatory requests asking, for each of

Alcoa’s trade secrets that UAC contends “is not a trade secret,” to “identify all

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reasons why you so contend and all of the facts supporting such contention” and to

identify all “affirmative defenses” for both these requests, Alcoa asked UAC to

identify persons with knowledge and supporting documents. See Walters Decl., Ex.

6 at Interrogatory Nos. 18, 19. On the same day, Alcoa requested documents relating

to UAC’s claims in its Answer to Amended Complaint that certain of Alcoa’s trade

secret processes are “consistent with well-known science” (¶¶ 23-24) and are

“generally known or readily ascertainable” (¶ 43). See Walters Decl., Ex. 7 at RFPs

41, 44. UAC initially provided no information in response to Interrogatories 18 and

19; and while it promised to produce responsive documents to RFP Nos. 41 and 44

(subject to a host of objections), it never did. See Walters Decl., Exs. 8-9; see also

Walters Decl., Ex. 10.

      On August 31, 2016, UAC filed an Amended Answer and Counterclaim, see

[Dkt. 159], that alleged: “The process for creating aluminum extrusions involves the

use of well-known science, including standards and process steps that have been

published in engineering books and similar publications for decades.” Id. ¶ 25.3 The




      3
         UAC further alleged: “The process by which aluminum extrusions are
stretch-formed also involves use of well-known science that is generally known and
readily accessible, although it takes an enormous investment to acquire stretch-
forming equipment that is big enough and powerful enough to stretch-form
extrusions that are as big as spar chords.” Id.

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same paragraph identified the first public literature reference disclosed by UAC in

this case: “a chapter on ‘Stretch Forming’” in “the 1961 edition of Alcoa’s book,

‘Forming Alcoa Aluminum.’” Id. UAC also claimed: “If an aluminum extrusion

company wants to develop a stretch-forming capability, it can read about the process

in readily available literature and watch the process on widely available websites

such as YouTube.”      Id. ¶ 26.   Given the additional allegations, Alcoa again

propounded RFPs seeking all documents relating to UAC’s new allegations. See

Walters Decl., Ex. 11 at RFPs 120-121. UAC did not produce any documents

responsive to RFP 121, but promised to produce documents responsive to RFP 120

— but it never did. See Walters Decl., Ex. 12. In September 2016, in response to

Alcoa’s motion to compel, Magistrate Judge Russell G. Vineyard ordered UAC to

produce discovery as to “how UAC developed [the] process [for manufacturing the

parts at issue],” “the extent to which Alcoa’s information was used to develop that

process,” and “UAC’s defenses.” Dkt. 160 at 12-13. The Court subsequently

directed UAC to comply with its discovery obligations two more times. Walters

Decl., Exs. 13 & 14.

      Finally, on June 29, 2017, UAC provided a limited, substantive response to

Interrogatories 18 and 19. See Walters Decl., Ex. 15.




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      On October 11, 2017, Alcoa wrote to UAC



                                   Accordingly, Alcoa noted: “As the Interrogatory

seeks all facts supporting UAC’s contentions, we assume UAC does not intend to

attempt to offer at trial any additional evidence regarding the claimed common

knowledge of the trade secrets.” Id. It further warned: “To the extent UAC does

intend to offer any additional evidence in this regard, it must identify the evidence

in response to this interrogatory.” Id. On October 19, 2017, UAC refused to further

amend its response to Interrogatory 18. See Walters Decl., Ex. 17.

      In short, UAC identified only one book in support of its allegation that Alcoa’s

trade secrets were common knowledge or readily ascertainable.

B.    UAC IDENTIFIES PUBLIC LITERATURE AFTER THE
      CLOSE OF FACT DISCOVERY.
      Fact discovery finally closed on December 20, 2017. See Order [Dkt. 324].

On May 4, 2018, UAC issued a rebuttal report by a technical expert (Dr. Stevenson),

and for the first time identified public literature beyond the one chapter of the book

referenced in UAC’s counterclaims. Dkt. 722.5. Dr. Stevenson referenced almost

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70 sources of public literature which he opined disclosed aspects of Alcoa’s trade

secrets. See Walters Decl. Ex. 1. Two years later, UAC identified more than a dozen

additional public literature references on its Trial Exhibit List. See Walters Decl.,

Ex. 1 (entries not previously identified by ESi).

                                    ARGUMENT

      The Federal Rules of Civil Procedure and Local Rules of the Northern District

make clear that parties ignore their discovery obligations at their own peril. “If a

party fails to provide information or identify a witness as required by Rule 26(a) or

(e), the party is not allowed to use that information or witness to supply evidence . . .

at a trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ.

P. 37(c) (italics added). “The burden of establishing that a failure to disclose was

substantially justified or harmless rests on the nondisclosing party.” Little v. Ford

Motor Co., 2017 WL 6994586, at *5 (N.D. Ga. Dec. 21, 2017) (Ross, J.) (quoting

Mitchell v. Ford Motor Co., 318 F. App’x 821, 824 (11th Cir. 2009)).

      As this Court recently noted: “Late disclosure of information, witnesses, and

theories—particularly after the deposition phase of discovery—undermines the

purposes of discovery and warrants exclusion at . . . trial.” Order at 6 n.3 [Dkt. 676]

(quoting [Dkt. 598 at 4]). Here, UAC failed to disclose public literature references

in support of its defenses in a timely manner and this failure was neither substantially


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justified nor harmless, accordingly, this evidence and argument should be excluded.

This later disclosure is particularly prejudicial. Fairly extensive and technically

oriented discovery would be necessary on documents and materials that allegedly

disclose Alcoa’s trade secret. Alcoa has been deprived of the ability to conduct fact

discovery to establish that these sources are different than its trade secret.

   I.      UAC FAILED TO DISCLOSE THIS INFORMATION IN A
           TIMELY MANNER.
        As the procedural history above shows, despite multiple requests and a Court

Order requiring UAC to produce information on the development of its process,

whether it used Alcoa information, and its defenses, UAC did not identify any public

literature or other references in support of a claim of common knowledge or that the

trade secrets were readily ascertainable until well after the close of fact discovery.

With the exception of one source (that does not even appear to be listed on UAC’s

exhibit list), UAC did not identify any public literature it contended showed that

Alcoa’s trade secrets were common knowledge or readily ascertainable until it

provided its technical rebuttal reports. It identified further public literature on its

Trial Exhibit List. However, the identification of public literature after the close of

fact discovery and the deadline for Alcoa’s opening reports comes too late.

        UAC was required to disclose the information in fact discovery. “Contention

interrogatories—like the interrogatory here—serve an important purpose in helping

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to discover facts supporting the theories of the parties. Answers to contention

interrogatories also serve to narrow and sharpen the issues thereby confining

discovery and simplifying trial preparation.” Woods v. DeAngelo Marine Exhaust,

Inc., 692 F.3d 1272, 1279-80 (Fed. Cir. 2012). Indeed, the Rules contemplate

discovery of information that may undercut a party’s claims be provided upfront.

C.f., McKesson Info. Sols. LLC v. Epic Sys. Corp., 242 F.R.D. 689, 692 (N.D. Ga.

2007) (“the rules contemplate that a party receive this information [with respect to a

patent’s priority date] up front, during discovery, so that when the time comes to

discharge its burden [on invalidity] it has the ammunition necessary to do so.”).

Whether expertise may be necessary to opine on the relevance of the evidence does

not relieve a party of its obligation to provide the underlying evidence during fact

discovery. Bayer Healthcare Pharms., Inc. v. River’s Edge Pharms., LLC, 2015 WL

11142425, at *7 (N.D. Ga. July 31, 2015) (“The fact that an expert would ultimately

put the facts together to support the legal theory in an opinion is of no consequence

as to whether a responding party must timely supplement such an interrogatory.”).

      Accordingly, when UAC disclosed new evidence and defenses (reverse

engineering and the basis for statute of limitations) for the first time in its rebuttal

technical report, the Court agreed with Alcoa that “late disclosure warrants

exclusion.” See Dkt. 676 at 12. So too here. UAC should not be permitted to rely


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on public literature disclosed for the first time in Stevenson’s rebuttal report (half a

year after the close of fact discovery) or in UAC’s Trial Exhibit List (two and half

years after the close of fact discovery). As addressed below (Sections II and III),

this failure to disclose was neither substantially justified nor harmless, and therefore

should lead to exclusion under Rule 37(c).

         In addition, there is a separate basis for exclusion for the late identification of

public literature and references because UAC failed to adhere to this Court’s

Scheduling Order, which required the completion of fact discovery by December 20,

2017. Dkt. 324. As this Court recently held, “[f]ailing to comply with a court’s

scheduling order is a violation of Rule 16” and “the standard set forth in Rule

37(c)(1) does not govern sanctions for violating scheduling orders.” Thermolife

Int’l, LLC v. Hi-Tech Pharms., Inc., 2021 WL 4185899, at *4 (N.D. Ga. Aug. 3,

2021) (Ross, J.). Further, UAC defied a Court Order requiring production of

evidence supporting its defenses. Dkt. 160 at 13–14. Accordingly, UAC failed to

“obey a scheduling or other pretrial order,” and exclusion is warranted.                See

Thermolife Int’l, LLC, 2021 WL 4185899, at *4 (quoting Fed. R. Civ. P. 16(f)).



   II.      UAC’S FAILURE TO DISCLOSE WAS NOT
            SUBSTANTIALLY JUSTIFIED.

         Late-produced evidence may only be used at a trial if the production was

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“substantially justified” or “harmless.” See Fed. R. Civ. P. 37(c). “Substantially

justified means that reasonable people could differ as to the appropriateness of the

contested action.” Knight through Kerr v. Miami-Dade Cty., 856 F.3d 795, 812

(11th Cir. 2017). Here, there is no substantial justification for UAC’s long delay.

      As an initial matter, UAC is the party who placed these documents at issue.

From its first set of initial disclosures, UAC claimed that Alcoa’s trade secrets were

in the public domain. UAC doubled down on this claim in its Counterclaim.

Accordingly, it should come as no surprise that UAC would have to produce and

identify evidence to back such claims up. Its failure to even attempt to do so until

months to years after the close of fact discovery is anathema to the very purpose of

discovery. See Order at 6 n.3 [Dkt. 676].

      Alcoa diligently pursued this information at all stages of the litigation, over

the course of several years, beginning with RFPs issued days after filing the

operative complaint. It even moved to compel this information and the Court

ordered it to be produced.

                                                  and warned UAC that Alcoa intended

to rely on its non-production. See Walters Decl., Ex. 16. Despite Alcoa’s repeated

requests and warning and the Court’s Order, UAC still failed to produce or identify

relevant documents during discovery.


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      Moreover, Rule 26(e) “itself furnishes fair warning” and, when “flouted,

district courts possess the power to impose sanctions without first issuing a firm

discovery deadline or admonitory order.” Thibeault v. Square D Co., 960 F.2d 239,

245 (1st Cir. 1992); see also, e.g., Cable Broadband & Telecommunications, LLC v.

Depositors Ins. Co., 2018 WL 10647207, at *12 (N.D. Ga. Feb. 28, 2018) (Ross, J.)

(“Parties have certain discovery obligations that arise automatically” and “must . . .

respond to proper discovery requests from opposing parties.”). In short, UAC’s

failure to disclose was not substantially justified.

   III.   UAC’S FAILURE TO DISCLOSE WAS NOT HARMLESS.

      When considering whether a late disclosure is harmless, courts consider five

factors: “(1) the surprise to the party against whom the evidence would be offered;

(2) the ability of that party to cure the surprise; (3) the extent to which allowing the

evidence would disrupt the trial; (4) the importance of the evidence; and (5) the

nondisclosing party’s explanation for its failure to disclose the evidence.” Canon,

Inc. v. Color Imaging, Inc., 2016 WL 11745665, at *2 (N.D. Ga. Jul. 5, 2016)

(attribution omitted). Here, all five factors lean against a finding that UAC’s late

disclosures are harmless.

      First, UAC’s decision to identify a host of public literature references months

to years after the close of fact discovery came as a surprise, considering Alcoa’s



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diligence in pursuing the information for years and formal notice that it intended to

rely on UAC’s nondisclosure. “Because . . . discovery rules are designed to allow

both sides in a case to prepare their cases adequately and to prevent surprise,

compliance with the requirements of Rule 26 is not merely aspirational.” Reese v.

Herbert, 527 F.3d 1253, 1266 (11th Cir. 2008) (citation omitted).

      Second, by waiting months after the close of fact discovery and well after

initial expert reports to identify any references other than the 1961 Alcoa book, UAC

deprived Alcoa of the opportunity to examine these references in further written

discovery, witness depositions, or with experts. See Order at 11 [Dkt. 676] (noting

UAC’s late disclosures “prejudiced Plaintiff by denying it the opportunity to

properly oppose Defendant’s defenses”). In other words, UAC deprived Alcoa of

any meaningful opportunity to cure the surprise by conducting additional written

discovery or depositions of fact and expert witnesses. See, e.g., Mitchell v. Ford

Motor Co., 318 F. App’x 821, 824–25 (11th Cir. 2009) (affirming exclusion of

expert witness testimony based on references undisclosed during discovery).4



      4
        Even if some of these references were included in earlier productions, they
were not identified in response to Alcoa’s interrogatories, and Alcoa should not be
forced to “trawl through a ‘mountain of other evidence’ to ferret out the facts and
evidence” it specifically requested to be identified in an interrogatory. See Hill v.
Konecranes, Inc., 2019 WL 3842072, at *3 (S.D. Ga. Apr. 15, 2019); see also, e.g.,


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      For example, Alcoa has no understanding as to the relevance of the 2002

Materials Science and Engineering A338 publication by De Robinson, JD, entitled

“Optimizing the homogenization of zirconium containing commercial aluminum

alloys using a novel process model. ” Dkt. 719, G-2(a) (UAC’s Trial Exhibit List) at

PTX 1367. Similarly, what is the relevance of the Defense Department publication

DOD 5200.2-R dated January 1987? Id. at PTX 1337. Alcoa was denied the

opportunity to discover, among other things, witnesses’ knowledge of these

materials, use of the information therein by UAC, or similarity between any

information therein and UAC’s processes. The same is true of the other 67 plus

public literature entries on UAC’s Trial Exhibit List.        This situation is very

analogous to the requirement to identify prior art on which a party seeks to invalidate

a patent in a patent case. The rules require such identification because the patent

owner must be afforded an opportunity to take fact discovery to determine the




Mee Indus. v. Dow Chem. Co., 608 F.3d 1202, 1221–22 (11th Cir. 2010); Am.
Pegasus SPC by and through Sybersma v. Clear Skies Holding Co., LLC, 2016 WL
11710067, at *4 (N.D. Ga. Jan. 14, 2016) (Ross, J.) (noting “Plaintiff was under no
obligation to hunt down the promised [and unproduced] documents”). As this Court
already said, UAC produced “over two million documents in discovery” and
“isolated, unidentified documents are not equivalent to putting your opponent on
notice—especially when there are voluminous records.” Order at 11–12 [Dkt. 676].
Notably, at least the 69 public literature references Alcoa has identified on UAC’s
Trial Exhibit List were not identified with bates stamps. See Walters Decl., ¶ 3.

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technical nature of the prior art. Woods v. DeAngelo Marine Exhaust, Inc., 692 F.3d

1272, 1282 (Fed. Cir. 2012) (failure to disclose prior art until the last day of

discovery strips party of meaningful opportunity to prepare); Bayer Healthcare

Pharms., Inc. v. River’s Edge Pharms., LLC, 2015 WL 11142427, at *8 (N.D. Ga.

May 21, 2015), report and recommendation adopted, 2015 WL 11142424 (N.D. Ga.

June 16, 2015) (opportunity to conduct expert discovery on an untimely disclosure

does not rend the failure to disclose harmless, and “defeats the entire purpose of the

Patent Local Rules, which is to require the early disclosure of parties’ positions”).

      Third, allowing this evidence at trial would be disruptive and would unfairly

prejudice Alcoa. Every trial lawyer knows the adage that one should not ask a

question on cross-examination without knowing the answer. But Alcoa had no way

of testing the answers of any UAC witness on any of these late-identified references,

and thus is subject to ambush at trial.

      Fourth, this evidence appears intended to bolster UAC’s defenses that Alcoa’s

trade secrets were common knowledge or readily ascertainable, and as such, their

late disclosure prejudiced Alcoa’s ability to prepare its case and would result in

ambush at trial. See Bell v. Guardian Automotive Corp., 2021 WL 3017987, at *3

(N.D. Ga. Jan. 21, 2021) (Ross, J.) (“A party cannot abuse Rule 26(e) to merely

bolster a defective or problematic expert witness report.”).


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      Fifth, the only rationale UAC has ever provided for not producing relevant

information is that it was entitled to withhold the information as attorney work-

product because Alcoa asserted work product privilege over a separate and distinct

interrogatory dispute. See Walters Decl. Ex. 17. The situations are not analogous,5

and the Court has already rejected a similar argument by UAC in connection with

its failure to identify evidence in support of its other defenses within the discovery

period. Dkt. 676 at 11 (explaining that “the purpose of modern discovery is to ‘make

a trial less a game of blindman’s bluff and more a fair contest with the basic issues

and facts disclosed to the fullest practicable extent.’”) (quoting United States v.

Proctor, 356 U.S. 677, 682 (1958)).

                                  CONCLUSION

      For all these reasons, UAC’s failure to disclose public literature references

(beyond the one book chapter timely disclosed, if it is even listed on UAC’s Exhibit

List) is neither substantially justified nor harmless, and all references and related

testimony should be excluded at trial.




      5
         Alcoa asserted attorney work product over UAC’s request that Alcoa
identify information in UAC’s production that supports Alcoa’ claims. Dkt. 221.
Here, in contrast, Alcoa asked UAC to identify the public information that UAC
claimed existed and supported its case.

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Dated: March 8, 2022                       Respectfully submitted,

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              CERTICATE OF COMPLIANCE WITH LR 5.1(C)

      This is to certify that the foregoing document was prepared using Times New

Roman 14 point font in accordance with LR 5.1(C).

Dated: March 8, 2022                                /s/ Courtland L. Reichman
                                                    Courtland L. Reichman




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                            CERTIFICATE OF SERVICE
       The undersigned hereby certifies that I have electronically filed the above

document with the Clerk of the Court using CM/ECF which will send electronic

notification of such filing to all registered counsel.

This 8th day of March, 2022                              /s/ Courtland L. Reichman
                                                         Courtland L. Reichman




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